Case 2:06-cr-00050-SPC-NPM Document 95 Filed 07/18/06 Page 1 of 21 PageID 165




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

UNITED STATES OF AMERICA

-vs-                                                          Case No.: 2:06-cr-50-FtM-99SPC

JOSE LUIS ZALDIVAR
ORLANDO LOPEZ
ALFREDO DIAZ ROJAS
YENIER BROCHE ORTIZ
YOEL BERMUDEZ
_______________________________________

                           REPORT AND RECOMMENDATION

TO THE UNITED STATES DISTRICT COURT

       This matter comes before the Court on the Defendant Jose Luis Zaldivar’s Motion to

Suppress Evidence (Doc. # 59) filed on June 5, 2006. On June 16, 2006, the Defendant Orlando

Lopez moved to adopt the Motion to Suppress. The Court granted Lopez permission (Doc. # 73)

to adopt the Motion and join the suppression on June 20, 2006. In addition to Lopez’s Motion, the

Defendant Yenier Broche Ortiz also moved to adopt the Motion to Suppress. However, the Court

denied Ortiz’s Motion because Ortiz was not present in the vehicle nor in the vessel when police

stopped the Defendants and thus he lacked standing to challenge the stop.1


       1
          At the hearing, the Defendant Ortiz made an oral motion
renewing his request to adopt the Motion to Suppress. Ortiz argued
that since he was in the boat at some time, the Government might
argue that he actually drove the vessel and, therefore, he may have
had control and possession over the vessel. However, Ortiz never
stated that he actually had control or possession of the vessel at
any time only that he assumed the Government’s theory might allege
that he did and thus, a nexus exists that should allow him to join
the motion.
          The Movant bears the burden of establishing specific
facts that he has a reasonable expectation of privacy in the
property before he can claim that his Fourth Amendment right to
                                                    (continued...)
Case 2:06-cr-00050-SPC-NPM Document 95 Filed 07/18/06 Page 2 of 21 PageID 166




       On June 26, 2006, a hearing on the Defendant’s Motion to Suppress was held before the

Honorable Sheri Polster Chappell, United States Magistrate Judge. At that hearing, the Government

was represented by Assistant United States Attorney Douglas Malloy, the Defendant Zaldivar was

represented by Joseph Viacava, Esq., and the Defendant Lopez was represented by Charles Harris,

Esq. As evidence, the Government presented the testimony of Sgt. Brian Sawyer, Cpl. Amy

Spotanski-Tipton, Cpl. Eric Vanessendelft, Cpl. Joseph Scalora, Lt. David R. Johnson, all deputies

with the Collier County Sheriff’s Office (CCSO), and Agt Sean Mullin of the Immigration and

Customs Enforcement Bureau (ICE). The Defense presented no evidence at the hearing.

                          TESTIMONY AND EVIDENCE

Sgt. Brian Sawyer: (Tr. 9-27).

       Sgt. Sawyer has served with the CCSO for seven (7) years. At the time of the incident in

question, Sgt. Sawyer was serving as the sergeant supervisor of the CCSO’s Criminal Investigation

Division. (Tr. 10: 6-7). On April 8, 2005, Sgt. Sawyer was notified to be on the look out (BOLO)

for any type of smuggling orientated operation such as vessels or vehicles towing large boat trailers.



       1
      (...continued)
privacy was violated. U.S. v. Miravalles, 280 F.3d 1328, 1331 (11th
Cir. 2002).    A person has a legitimate expectation of privacy
protected by the Fourth Amendment if he has a subjective
expectation of privacy, and if society is prepared to recognize
that expectation as objectively reasonable. Katz v. United States,
389 U.S. 347, 361, 88 S. Ct. 507, 19 L. Ed. 2d 576 (1967). The
Defendant’s mere speculation that the Government’s theory may argue
that he had possession and control over the vessel at some point in
time is not sufficient for an objectively reasonable person to
assume that Ortiz had a privacy interest in the vessel. Ortiz was
not at the actual traffic stop and was not seen by any officers
during the incident that this Motion to Suppress encompasses.
Thus, the Court found that he lacked standing to join the Motion
and denied his renewed request.
                                                 -2-
Case 2:06-cr-00050-SPC-NPM Document 95 Filed 07/18/06 Page 3 of 21 PageID 167




(Tr. 10:8-23 ). The Coast Guard notified the CCSO that it was following a smaller vessel suspected

of dropping off illegal aliens on Loggerhead Key. (Tr. 10:18-23). After receiving the BOLO from

the Coast Guard, Sgt. Sawyer observed a Nissan pickup truck pulling a three axle boat trailer at

highspeed southbound on Highway 41 from Lee County into Collier County. (Tr. 11:11-19). Sgt.

Sawyer coordinated with six (6) other CCSO vehicles who followed the vehicle on Hwy. 41 to

Naples and observed it pull into a parking lot behind the Walgreens drug store and 7-11 at the

intersection of Hwy 41 and 951. (Tr. 11:21-25, 12:1-25, 13:1-2). Sgt. Sawyer also coordinated his

movements with Lt. David Johnson of the CCSO Marine Patrol.2 (Tr. 13:12-14, 15:2-7).

       Sgt. Sawyer testified that he did not receive direct information that connected the truck and

trailer to the vessel that was being sought by the Coast Guard. (Tr. 15:16-19). However, based upon

the information provided by Lt. Johnson, the time of the morning, it was approximately 2:00am when

he first observed the truck, and the fact that the truck was traveling at least ten (10) mph over the

speed limit, Sgt. Sawyer followed the truck. (Tr. 15:20-25, 16:1).

       Sgt. Sawyer observed the truck behind the Walgreens for approximately one and one half

hours at which time he approached the vehicle and made contact with the driver. (Tr. 13:19-23). Sgt.

Sawyer testified that the Defendant Jose Zaldivar was the driver of the vehicle. (Tr. 14:1-3).

According to Sgt. Sawyer, Zaldivar spoke English and had no problems communicating with him.

(Tr. 14:3-4). Zaldivar stated that he pulled into the parking lot to wait for the daylight because his

trailer light was not working properly and he did not want to drive at night with a malfunctioning


       2
           Lt. Johnson was a Sergeant at the time of the incident
and has since been promoted to lieutenant. For the purposes of
this R & R the Court will refer to him as Lt. Johnson even though
some of the witnesses referred to him as Sgt. Johnson during their
testimony.
                                                -3-
Case 2:06-cr-00050-SPC-NPM Document 95 Filed 07/18/06 Page 4 of 21 PageID 168




light. (Tr. 14:8-19). At that time Sgt. Sawyer left Zaldivar in the parking lot behind Walgreens

because he had no reason to detain him, although he testified that he did not find Zaldivar’s story

credible. (Tr. 14:21-25, 15:1, 23:17-25, 24:1-3).

Cpl. Amy Spotanski-Tipton: (Tr. 27-56).

          Cpl. Spotanski-Tipton has served with the CCSO for the last five years. She testified to

the events that took place in the early morning hours of April 8, 2005.

       Cpl. Spotanski-Tipton was driving an unmarked vehicle during the early morning hours of

April 8, 2006. She received a BOLO over her computer and via her radio regarding potential

smugglers involved in transporting illegal aliens into the country. (Tr. 28:21-24). After receiving a

message from Sgt. Sawyer over her Nextel phone, regarding the Defendant’s potential involvement

in the smuggling, Cpl Spotanski-Tipton participated in the surveillance team that tracked the

Defendant down 41 to the parking lot behind the 7-11 and Walgreens. (Tr. 29:13-25, 30:1-15). She

observed the truck and trailer parked in the parking lot behind the Walgreens/7-11for approximately

ninety (90) minutes. (Tr. 30:20-23). Around 3:45 to 4:00a.m. Sgt. Sawyer made contact with the

driver of the truck. (Tr. 30:25, 31:1-10). She was told that the occupants were waiting for daylight

to continue traveling to Miami. (Tr. 31:14-19). Cpl. Spotanski-Tipton then left the scene and

returned to the substation to finish her shift. (Tr. 31:20-25).

       At approximately 6:00a.m. Cpl. Spotanski-Tipton drove past the boat ramp on 591 on her

way home from work. (Tr. 32:6-25). While passing the boat ramp ,she observed the Defendant’s

truck backed up to the boat ramp preparing to load a boat out of the water. (Tr. 32:18-25). Cpl.

Spotanski-Tipton watched as Zaldivar drove the truck, a second unidentified man aligned the trailer

and the boat, and a third man, also unidentified operated the boat in the water. (Tr. 32:18-22). Cpl.


                                                 -4-
Case 2:06-cr-00050-SPC-NPM Document 95 Filed 07/18/06 Page 5 of 21 PageID 169




Spotanski-Tipton stated that she observed the loading of the vessel onto the trailer for several

minutes. (Tr. 40:3-10). The boat pulled out onto Collier Blvd. and Cpl. Spotanski-Tipton called for

back up. (Tr. 33:2-5). Cpl. Spotanski-Tipton followed the vehicle for about half a mile when a

marked patrol car which had also been following the truck pulled the Defendant over at

Championship Dr. (Tr. 50:9-12). Cpl. Spotanski-Tipton testified that she noticed the truck was

unable to maintain a speed of 35 mph, that the driver was having trouble staying in a single lane, and

that the trailer lights were not working properly because they flickered on and off rather than

constantly staying on while the trailer was in motion. (Tr.43:1- 44:14). After the stop, she remained

on the scene as a secondary unit and remained behind the truck and vessel for the other officers

safety. (Tr. 34:9-13).

        Cpl. Spotanski-Tipton conducted an inventory search of the vessel. (Tr. 34:17-22). During

her inventory search, Cpl. Spotanski-Tipton found three or four fishing rods, some small cans of

Vienna sausages, a few long black hair that appeared to have come from a female, and lots of smudge

marks and dirt smudge marks all over the vessel. (Tr. 35:5-10, 44:21-45:1-5). Cpl. Spotanski-Tipton

stated that she did not find any life preservers (jackets) during her search however, she testified that

she did not go into any closed compartments or storage bins. (Tr. 46:5-8-15, ). Lt. Johnson directed

her to list the items she found on an inventory sheet. (Tr. 55:3-16).

Cpl. Eric Van Essendelft: (Tr. 58-82).

        Cpl. Van Essendelft has served with the CCSO for seven (7) years. On April 8, 2005, he

received computer updates regarding the alleged smuggling involving the suspect truck and vessel.

(Tr.59:3-7, 60: 10-17). He received a call from Cpl. Spotanski-Tipton for back up and proceeded

to follow the Defendant’s truck. (Tr. 59:8-22). Cpl.Van Essendelft followed behind the truck and


                                                  -5-
Case 2:06-cr-00050-SPC-NPM Document 95 Filed 07/18/06 Page 6 of 21 PageID 170




noted that the trailer’s tag light was not lit and that truck was traveling 30mph below the posted

speed limit. Cpl. Van Essendelft stopped the truck which was also unable to maintain its position in

a single lane. (Tr.60:3-9, 73:20-25, 74:1-3). Cpl. Van Essendelft acknowledged that he knew the

boat was suspected of being involved in the smuggling of illegal aliens and that Cpl. Spotanski-Tipton

requested him to stop the vehicle, however, he testified that he made the stop because of the vehicle’s

traffic infractions and to aid in the investigation. (Tr. 60:10-25, 61:1-6, 65 18-25, 66:1-8).

        Cpl. Van Ess Essendelft made contact with the Defendant Zaldivar who was driving the truck

at the time of the stop. (Tr. 61:8-11). Cpl. Van Essendelft testified that he had no problems

communicating with Zaldivar – Zaldivar could speak and understand English. (Tr.61:14-19). He

asked for the Defendant’s driver’s license, registration, and the registration for the trailer. (Tr. 61:7-

11). Both the truck and boat were registered to the Defendant Zaldivar. (Tr. 67:25, 68:6-8). Cpl.

Van Essendelft then investigated the truck’s towing capacity, he looked in the owner’s manual and

found the truck’s weight and towing capacity. (Tr. 61:20-24, 62:1-6). The Truck was rated at 7000

lbs. towing capacity while the vessel weighed approximately 20,000 lbs. (Tr. 62:1-6 ). Cpl. Van

Essendelft then wrote out three (3) citations, one for a cracked windshield, which he did not see until

the truck was pulled over, the second for tag not being lit, and third one for the truck’s inability to

maintain one lane which impeded the flow of traffic. (Tr. 62:7-13, 68:12-21). Because the truck

could not properly tow the vessel, the Defendant was informed that he would have to make other

arrangements to tow the boat. (Tr. 62:14-25). Cpl. Van Essendelft then turned the investigation over

to officers who had arrived on the scene. (Tr.63:24-25, 64:).




                                                  -6-
Case 2:06-cr-00050-SPC-NPM Document 95 Filed 07/18/06 Page 7 of 21 PageID 171




Cpl. Joseph Scalora: (Tr. 82-105).

       Cpl. Scalora has served with the CCSO for twenty (20) years. He currently serves with the

CCSO’s Marine Patrol Unit. Cpl. Scalora was notified by Lt. Johnson that deputies from east Naples

had stopped a truck towing a boat that was suspected of being involved in smuggling illegal aliens.

(Tr. 83:5-17). He proceeded to the scene of the traffic stop located at Collier Blvd. When he arrived

on the scene, he noticed a small Nissan pickup truck pulling a thirty-six (36) foot Contender fishing

boat. (Tr. 83:22-25, 84:1-17). Cpl. Scalora testified that based upon his experience with boats3 he

knew that the truck was too small to tow a vessel as large as a thirty-six (36) foot Contender. (Tr.

84:5-12).

       Cpl. Scalora begin to inspect the vessel’s hull for signs of smuggling. (Tr.85:14-25, 86:1).

Cpl. Scalora walked around the right side of the vessel and observed that several of the vessel’s

registration numbers were starting to peel. (Tr. 90:1-16). Cpl. Scalora observed signs of multiple

people on board the vessel such as smudges and footprints. (Tr. 86:20-25, 87:1-6).

       Lt. Johnson walked the hull with Cpl. Scalora and then approached the Defendant to discuss

what they had found. (Tr.87:5-23). Lt. Johnson informed the Defendant that based on what he had

seen he was going to perform a coast guard safety inspection on the vessel. (Tr. 88:6-9). According

to Cpl. Scalora the Defendant verbally gave his consent to the search. (Tr. 88:6-15). Once on board

Lt. Johnson retrieved the vessel’s registration papers and handed them over to Cpl. Scalora. (Tr.

88:19-21).




       3
      Cpl. Scalora stated that he personally owned a thirty-one
(31) foot Contender and that it weighed in excess of 10,000 lbs.
(Tr. 85:4-12).
                                                -7-
Case 2:06-cr-00050-SPC-NPM Document 95 Filed 07/18/06 Page 8 of 21 PageID 172




       Regarding the registration numbers, Cpl. Scalora testified that he believed the vessel’s exterior

registration numbers had been deliberately altered. (Tr. 88:20-25, 89:1-6). However, Cpl. Scalora

did state that a vessel over 30 feet long is not required to display the FL numbers as long as it is

properly registered with the Coast Guard or with the Federal Government. (Tr. 92:3-23).

Nevertheless, the numbers on the port (left) side of the vessel did not match the vessel’s registration

numbers and the numbers on the starboard (right) side were missing several numbers and/or letters.

(Tr. 94:2-25, 95:1-12). Although the vessel did have a proper Florida registration decal, the hull

numbers did not contain the required FL number, used on boats registered with the state of Florida,

or the DO letters used on boats registered with the federal registration system. (Tr. 94:2-7). He

issued a citation to the Defendant for improper registration numbers. (Tr. 89:8-13).

Lt. David Johnson: (Tr. 106-136).

       Lt. Johnson has served with the CCSO for 32 years and currently serves as the supervisor of

the CCSO’s Marine Bureau. On April 5, 2005, Lt. Johnson was notified by the Coast Guard out of

Key West, Florida, that an active human smuggling case had just occurred in the Dry Tortugas. (Tr.

107:3-9). At 3:00a.m., based on the Coast Guard’s report, Lt. Johnson advised the supervisors on

patrol to be on the look out for suspicious activity regarding a potential smuggling operation.

(Tr.107:10-25, 108:1-12).

       Surveillance units informed Lt. Johnson that a small pickup truck was observed pulling a large

boat trailer out of Lee County south into Collier County. (Tr. 108:13-24). Lt. Johnson instructed the

officers to continue the surveillance and make contact to perform a field interview if possible.

(Tr.108:25, 109:1-9). Lt. Johnson was informed that a field interview was performed but that no

reason existed to detain the suspects. (Tr. 109:10-21).


                                                 -8-
Case 2:06-cr-00050-SPC-NPM Document 95 Filed 07/18/06 Page 9 of 21 PageID 173




       On her way home from work, one of the surveillance units passed by the Collier County Boat

Ramp and observed the truck loading a large vessel out of the water. (Tr. 109:22-25, 110:1-6 ). The

deputy called for back up and the Defendant was subsequently pulled over by deputies of the CCSO.

(Tr. 110:7-11). When he arrived at the traffic stop Lt. Johnson was briefed by officers on the scene.

(Tr.110:11-22).

       Lt. Johnson made contact with the Defendant Zaldivar. (Tr. 112:4-8). The Defendant

Zaldivar told Lt. Johnson that he was staying in Lee County at the Sanibel Harbor resort and that he

had some engine trouble. (Tr. 112:19-23). Lt. Johnson testified that he noticed that the boat was in

disarray like the vessel had been on a long voyage. (Tr. 113:1-3). The vessel was salted with sea

spray, with numerous smudge marks as if a large number of people had been on board. (Tr. 113:4-

14). Lt. Johnson informed the Defendant that he was going to perform a Coast Guard safety

inspection of the vessel. (Tr. 113:17-20). He asked the Defendant if he would voluntarily consent

to the search. (Tr. 113:21-22). The Defendant Zaldivar said yes and nodded up and down. (Tr.

113:18-24).

       Once on the boat, Lt. Johnson could see from the dew that there were patent hand prints

where it appeared a large number of people had been grasping the supports of the T-top and around

the fiberglass area. (Tr. 114:1-9). He also observed a large number of scuffle marks from feet, a large

number of empty Vienna Sausage cans and crackers all over the place. (Tr. 114:11-21). Lt. Johnson

also found twenty-one (21) life jackets in a hold. (Tr. 114:24-25, 115:1-11). He opened the fish box

and observed visible hand and foot prints where it appeared someone had tried to get a perch for their

hands and feet. (Tr. 115:18-25, 116:1-5). According to Lt. Johnson, all of the things he observed

were evidence indicative of human smuggling activities. (Tr. 116:6-14).


                                                 -9-
Case 2:06-cr-00050-SPC-NPM Document 95 Filed 07/18/06 Page 10 of 21 PageID 174




        Based upon his observations, Lt. Johnson contacted Agent Sean Mullin with ICE and briefed

 him on what he had found. (Tr. 116:15-25). Lt. Johnson testified that he never had any trouble

 communicating with Zaldivar nor did he feel the need for a warrant because Zaldivar consented to

 the search. He also testified that there were sufficient exigent circumstances and that he had a right

 to conduct a safety inspection without the need for a warrant. (Tr. 118:13-25, 119:1-5).

 Agt. Sean Mullin: (Tr. 137-158).

        Agt. Mullin has served with ICE for the last three (3) years. Agt. Mullin testified that the boat

 was being chased by the Coast Guard and was last seen heading west towards the west coast of

 Florida. (Tr. 137:16-24). Collier County, Florida, in particular, the boat ramp on 591, is known as

 a hot area for launching and retrieving vessels involved in human smuggling. (Tr. 137:25, 138:1-6).

 Agt. Mullin checked with the CCSO and the Coast Guard to gather information on the activities that

 occurred on that night. (Tr. 138:7-13, 139:1-13). At the time he spoke with CCSO, Agt. Mullin was

 unaware of the landing on Loggerhead Key. (Tr. 140:19-25). He later learned that twenty-five (25)

 Cuban Nationals, a number which eventually was corrected to thirty-nine (39), had landed on

 Loggerhead Key. (Tr. 140:19-25, 141:1). Based upon the information he received from the CCSO

 and the Coast Guard, Agt. Mullin place an ICE hold on the boat. (Tr. 141:2-7). As far as, Agt.

 Mullin knew, until he placed the ICE hold on the boat, the Defendant was free to tow the boat away

 from the CCSO had he been able to obtained the proper towing equipment. (Tr. 141:9-17).

        Agt. Mullin took Agt. Silva and fingerprinted all of the Cuban Nationals and interviewed five

 (5) of them at Pembroke Pines. (Tr. 141:20-25, 142:1-8). Pembroke Pines is where they took the

 Cubans after they took them to Key West. (Tr. 141:20-23). They told him that they had come to the

 United States on a small wooden fishing vessel. (Tr. 142:9-16). According to Agt. Mullin in his


                                                 -10-
Case 2:06-cr-00050-SPC-NPM Document 95 Filed 07/18/06 Page 11 of 21 PageID 175




 experience, the wooden fishing boat story is the customary story told by Cuban Nationals being

 smuggled into the country. (Tr. 142:18-24).

         Agt. Mullin contacted the U.S. Attorney’s office prior to going to the Pembroke Pines office

 to interview the Cubans.     After the Pembroke Pines interviews, Agt. Mullin procured a search

 warrant and processed the boat as if it were a crime scene. (Tr. 143:3-17). A forensics team was

 taken to the boat. They took photos. (143:18-25). During the search, Agt. Mullin opened a

 compartment in the hull and found twenty-one (21) life jackets. (Tr.144:1-5). The CCSO provided

 a fingerprint expert who took prints from the boat and compared them to the prints taken by Agt.

 Mullin at Pembroke Pines. (Tr. 144:6-22).

                                            DISCUSSION

         The Defendants argue that the initial search of the truck, trailer, and boat were the result of

 an improper traffic stop and thus, the seizure of the same was without foundation of law. Therefore,

 the Defendants assert that any evidence discovered as a result of the traffic stop is the fruit of the

 poisonous tree and must be suppressed. Additionally, the Defendants state that the subsequent search

 of the vessel at the traffic stop was a violation of the Fourth Amendment and that no probable cause

 existed for the Court to issue a search warrant later that same day. The Government argues the initial

 traffic stop was legal, the Defendant consented to the search of the vessel at the site of the traffic

 stop, and that probable cause existed to issue the search warrant.

                          (1) Whether the Initial Traffic Stop was Legal

         The Fourth Amendment protects individuals from unreasonable search and seizure. U.S. v.

 Purcell, 236 F.3d 1274, 1277 (11th Cir. 2001) cert. denied, 534 U.S. 830 (2001). The temporary

 detention of individuals during the stop of an automobile by the police, even if only for a brief period


                                                  -11-
Case 2:06-cr-00050-SPC-NPM Document 95 Filed 07/18/06 Page 12 of 21 PageID 176




 and for a limited purpose, constitutes a “seizure” of “persons” within the meaning of the Fourth

 Amendment. Whren v. U.S., 517 U.S. 806, 809, 116 S.Ct. 1769, 135 L. Ed. 2d 89 (1996) (citing

 Delaware v Prouse, 440 U.S. 648, 653, 99 S. Ct. 1391, 59 S. Ct. 2d 660 (1976)). However,

 temporary detention of a motorist during a traffic stop is constitutional if probable cause exists to

 believe a traffic violation has occurred. Whren, 517 U.S. at 810. The Fourth Amendment test for

 a traffic stop should be whether a reasonable officer would have stopped the vehicle for the purpose

 of enforcing the traffic violation. Id. Thus, in order to determine whether or not a specific Fourth

 Amendment requirement such as probable cause or reasonable suspicion has been met, the court must

 determine if the officer’s action were reasonable. Ornelas v. U.S., 517 U.S. 690, 696, 116 S.Ct.

 1657, 134 L. Ed. 2d 911 (1996).

         While on her way home from work, Cpl. Spotanski-Tipton observed the Defendant in the

 process of uploading a boat at the boat ramp on 591. (Tr. 32:6-25). Cpl. Spotanski-Tipton had

 participated in the surveillance on the Defendant during the early morning hours of April 8, 2005, and

 was familiar with all of the facts and circumstances surrounding the vessel and Defendant. (Tr. 32:6-

 25). Cpl. Spotanski-Tipton and Cpl. Van Essendelft testified that they followed behind the truck and

 noted that the trailer’s tag light was not lit, it was still dark outside, the truck was traveling below the

 posted speed limit, and was having trouble maintaining its position in one lane. (Tr. 44:9-14, 60:4-9,

 61:2-3). Based on those traffic infractions, Cpl. Vanessendelft initiated the traffic stop. (Tr. 61:4-6).

         Fla. Stat. § 316.610 provides that it is a violation for the owner of a vehicle to allow his

 vehicle to be driven in an unsafe condition or without the required equipment. State v. Kindle, 782

 So. 2d 971, 974 (Fla. 5th DCA 2001). Under Fla. Stat. § 316.221(2), a vehicle’s tag must be lit so

 that it is visible from at least fifty (50) feet away. Hilton v. State, 901 So.2d 155, 166 (Fla. 2d DCA


                                                    -12-
Case 2:06-cr-00050-SPC-NPM Document 95 Filed 07/18/06 Page 13 of 21 PageID 177




 2005) (citing Smith v. State, 687 So. 2d 875, 877 (Fla. 2d DCA 1997) (holding that a dim tag light

 created probable cause to initiate a valid traffic stop under Florida law)).

         The Defendant further argues that Cpl. Van Essendelft’s reason for stopping the truck because

 it was driving too slow and weaving in and out of its lane was invalid. The Defendant states that

 nothing in the Florida Code specifies that driving too slow is a violation of the law. However, the

 Florida Supreme Court has upheld traffic stops as valid in instances where the driver was observed

 driving at a slow rate of speed and weaving within their lane. State Department of Highway Safety

 and Motor Vehicles v. DeShong, 603 So. 2d 1349, 1352 (Fla. 2d DCA 1992) (citing Bailey v. State,

 319 So. 2d 22 (1979)). The Florida Supreme Court reasoned that even though there was no evidence

 of criminal activity on the part of the driver, the danger created by the erratic driving justified the

 traffic stop. DeShong, 603 So. 2d at 1352.

         Thus, after review of the record and testimony presented at the hearing, it is clear that Cpl.

 Van Essendelft had probable cause to initiate the traffic stop on the Defendant’s truck. Therefore,

 the initial traffic stop was valid.

   (2) Whether the Searches of the Vessel at the Traffic Stop Violated the Fourth Amendment

         The Defendant argues that the subsequent inventory search by Cpl. Spotanski-Tipton and, the

 search by Lt. Johnson, were improper because the vessel was unlawfully seized and impounded

 without cause subsequent to an invalid traffic stop. The Government asserts that the Defendant gave

 consent to the search, that the vessel was not seized at the time of the search and that the subsequent

 inventory search was done in accord with police protocol for the protection of the Defendant’s goods.




                                                 -13-
Case 2:06-cr-00050-SPC-NPM Document 95 Filed 07/18/06 Page 14 of 21 PageID 178



                      (a) Whether the Inventory Search of the Vessel was Valid

         When vehicles are impounded, local police departments generally follow a routine practice

 of securing and inventorying the automobiles contents. South Dakota v. Opperman, 428 U.S. 364,

 369, 96 S. Ct. 3092, 49 L. Ed. 2d 1000 (1976). Inventory searches constitute one of the well-defined

 exceptions to the probable cause and warrant requirements of the Fourth Amendment. Id.; Illinois v.

 Lafayette, 462 U.S. 640, 103 S.Ct. 2605, 77 L. Ed. 2d 1000 (1983). Inventory searches developed

 to respond to three distinct needs:(1) the protection of the owner’s property while it remains in police

 custody; (2) the protection of the police against claims or disputes over lost or stolen property; and

 (3) the protection of the police from potential danger. Opperman, 428 U.S. at 369.

         Cpl. Spotanski-Tipton performed an inventory search of the subject vessel after Lt. Johnson

 and Cpl. Scalora arrived on the scene. (Tr. 34:17-24). The Defendant objects to Cpl. Spotanski-

 Tipton’s inventory search of the vessel on the grounds that the vessel was improperly impounded and

 that the Government failed to present any criteria under which terms the search was performed. Thus,

 the Defendant claims the subsequent inventory search was unlawful.

         In the instant case, the CCSO impounded the vessel due to safety concerns. (Tr. 62:14-25).

 Here, Cpl. Van Essendelft inspected the trailer and the truck’s towing capacity. (Tr. 61:21-25).

 According to the owner’s manual, the truck had a towing capacity of 7000 lbs. (Tr. 62:1-6).

 However, officers at the hearing testified that the vessel weighed approximately 20,000 pounds. (Tr.

 62:1-6). The officers felt that the continued towing of the vessel by the Defendant with that particular

 pickup truck was unsafe and thus, they impounded the vessel. (Tr. 62:14-25). Therefore, based upon

 the Florida Supreme Court’s reasoning in DeShong, the CCSO acted properly by impounding the




                                                  -14-
Case 2:06-cr-00050-SPC-NPM Document 95 Filed 07/18/06 Page 15 of 21 PageID 179



 vessel. Further, the Defendant was instructed that the boat and trailer would be released to him once

 he had a proper vehicle to tow them. (Tr. 62:16-25, 63:1-4, 141:8-17).

        Having found that the vessel was properly impounded, the CCSO had the right to conduct

 an inventory search under the Fourth Amendment. See Opperman, 428 U.S. at 369-379 (holding that

 it is well established that when police take custody of a vehicle they may conduct a reasonable

 inventory search of that vehicle, as an exception to the warrant requirement of the Fourth

 Amendment).

        The Defendant also argues that the Government failed to present any criteria under which

 terms the inventory search was performed.4 The United States Supreme Court in Florida v. Wells,

 makes it clear that an inventory search must not be a ruse for a general rummaging in order to

 discover incriminating evidence. 495 U.S. 1, 4, 110 S.Ct. 1632, 109 L. Ed. 2d 1 (1990). The policy



        4
       The line of cases which deal with this issue speak to the
 fact that inventory searches must be conducted according to proper
 police criteria. Colorado v Bertine, 479 U.S. 367, 374, 107 S. Ct.
 738, 93 L. Ed. 2d 739 (1987); and Beezley v. State, 863 So. 2d 386,
 388 (Fla. 2d DCA 2003); Patty v. State, 768 So. 2d 1126, 1127 (Fla.
 2d DCA 2000) (citing Florida vs. Wells, 539 So.2d 464 (Fla. S. Ct.
 1989)). In Patty and Beezley, Florida’s Second District Court of
 Appeals, citing Florida v. Wells, 539 So. 2d 464, found that an
 inventory search must strictly comply with the police agency’s
 written criteria. Thus, the Second DCA found that if the policy
 does not specifically outline the perimeters of the items that can
 be searched during an inventory search, then the evidence must be
 suppressed. However, the United States Supreme Court in Florida v.
 Wells, while affirming the Florida Court’s ultimate decision, held
 that Florida improperly viewed the Bertine decision as very
 restrictive prohibition against police discretion in performing
 inventory searches. 495 U.S. 1, 110 S. Ct. 1632, 109 L. Ed. 2d 1
 (1990).   The Supreme Court held that standardized criteria are
 simply a means to prevent the police from using an inventory search
 to   subvert   the  warrant   requirement   and   open  a   general
 investigation. Wells, 495 U.S. at 4. Therefore, the Court will
 follow the United States Supreme Court’s holding in Wells rather
 than the Second DCA’s holdings from Patty and Beezley.
                                                -15-
Case 2:06-cr-00050-SPC-NPM Document 95 Filed 07/18/06 Page 16 of 21 PageID 180



 or practice governing inventory searches should be designed to produce an inventory. The individual

 police officer must not be allowed so much latitude that inventory searches are turned into “a

 purposeful and general means of discovering evidence of crime,” Id. (citing Bertine, 479 U.S. at 376).

 But, in forbidding uncanalized discretion to police officers conducting inventory searches, there is no

 reason to insist that they be conducted in a totally mechanical “all or nothing” fashion. Wells, 495

 U.S. at 4. “Inventory procedures serve to protect an owner’s property while it is in the custody of

 the police, to insure against claims of lost, stolen, or vandalized property, and to guard the police

 from danger.” Bertine, 479 U.S. at 372. The allowance of the exercise of judgment based on

 concerns related to the purposes of an inventory search does not violate the Fourth Amendment.

 Well, 495 U.S. at 4.

        In the instant case, Cpl. Spotanski-Tipton conducted the inventory search pursuant to a valid

 traffic stop and subsequent impounding of the vessel and trailer. The search was not a ruse to

 uncover incriminating evidence but was merely to itemize the property found on the vessel to be

 impounded. It is clear from the evidence that she did a review of the contents of the vessel and

 itemized the property on the CCSO Inventory Form. (Tr. 55:3-16). Therefore, the inventory search

 was proper.

                        (b) Whether the Search by Lt. Johnson was Consensual

        “[N]othing in the Constitution prohibits a police officer who permissibly has stopped an

 individual from requesting permission to conduct a search even if he has no basis for suspecting that

 the individual is carrying any contraband.”U.S. v. Strickland, 902 F.2d 937, 941 n. 3 (11th Cir. 1990);

 Schneckloth v Bustamonte, 412 U.S. 218, 93 S. Ct. 2041, 36 L. Ed. 2d 854 (1973) (holding an

 officer conducting a traffic stop may request consent to search the vehicle). A consensual search is


                                                 -16-
Case 2:06-cr-00050-SPC-NPM Document 95 Filed 07/18/06 Page 17 of 21 PageID 181



 constitutional if it is voluntary; if it is the product of an essential free and unconstrained choice. U.S.

 v. Purcell, 236 F.3d 1274, 1281 (11th Cir. 2001). In assessing voluntariness, the inquiry is factual

 and depends on the totality of the circumstances. Id. In evaluating the totality of the circumstances

 underlying the consent, the court should look at several indicators, including the presence of coercive

 police procedures, the extent of the defendant’s cooperation with the officer, the defendant’s

 awareness of his right to refuse consent, the defendant’s education and intelligence, and the

 defendant’s belief that no incriminating evidence will be found. Id. No single factor is dispositive of

 the issue. Schneckloth, 412 U.S. at 226-227.

         During the hearing, all of the officers who had contact with the Defendant testified that the

 Defendant Zaldiver could speak and understand English and that throughout the entire process he was

 cooperative with the police. (Tr. 14:3-4, 61:14-19, 112:10-14). At the scene of the traffic stop, Lt.

 Johnson informed the Defendant that he was going to conduct a Coast Guard safety inspection of the

 vessel. (Tr. 113:17-20). He asked the Defendant if he would voluntarily consent to the search. (Tr.

 113:15-21). The Defendant Zaldiver nodded affirmatively and said yes. (Tr. 113:15-24). There was

 no threat of use of force nor any evidence of coercion. Furthermore, no testimony was presented at

 the hearing to contradict the Government’s assertion that the search of the vessel was consensual.

         Based upon the testimony and evidence presented at the hearing the Defendant understood

 what he was asked, was not coerced into giving his consent, and appeared unconcerned about what

 would be found on board the vessel if it was searched. As a consequence, the Court concludes that

 the Defendant voluntarily gave his consent for Lt. Johnson to search the vessel. Thus, the Fourth

 Amendment was not violated by Lt. Johnson’s search of the vessel at the scene of the traffic stop.




                                                   -17-
Case 2:06-cr-00050-SPC-NPM Document 95 Filed 07/18/06 Page 18 of 21 PageID 182



                             (3) Whether the Search Warrant was Valid

         The Defendant attacks the affidavit of Agt. Mullin stating that Agt. Mullin’s affidavit does not

 support any connection between the subject vessel and any of the individuals discovered on

 Loggerhead Key. Therefore, the Defendant argues, Agt. Mullin’s affidavit did not rise to the level of

 probable cause. In the alternative, the Defendant argues that if the Court finds Agt. Mullin’s affidavit

 did rise to the level of probable cause, then the actual search seizing finger and palm prints off the

 vessel exceeded the scope of the warrant.

         Under the Fourth Amendment, searches should be conducted “pursuant to a warrant.” Ornelas

 v. U.S., 517 U.S. 690, 699, 116 S. Ct. 1657, 134 L. Ed. 2d 911 (1996). There is probable cause to

 support a warrant “when the totality of the circumstances allow a conclusion that there is a fair

 probability of finding contraband or evidence at a particular location.” Johnson, 168 Fed. Appx. at

 393 (citing U.S. v Brundidge, 170 F.3d 1350, 1352 (11th Cir. 1999)). Probable cause may be based

 upon the affidavit of a law enforcement officer. U.S. v. Johnson, 168 Fed. Appx. 390, 393 (11th Cir.

 2006)(citing Fed. R. Crim p. 41(d)(2)). There is a presumption of validity with respect to the

 officer’s affidavit supporting the warrant. Johnson, 168 Fed. Appx. at 393.

         In his affidavit, Agt. Mullin noted from the report received from the CCSO that the vessel

 contained twenty (20) life jackets, along with food and drink for numerous amounts of people, and

 the vessel was covered/caked with sea salt indicating that the vessel had recently been at sea. (Doc.

 # 59 Exhibit B). The affidavit for a warrant was limited to the specific vessel encountered by the

 CCSO on April 8, 2005, and that type of vessel was consistent with the type of vessels used to

 smuggle humans into the United States. (Doc. # 59 Exhibit B). The affidavit was sworn to on April

 8, 2005, the day the incident occurred, therefore, the information was fresh. Those facts combined


                                                  -18-
Case 2:06-cr-00050-SPC-NPM Document 95 Filed 07/18/06 Page 19 of 21 PageID 183



 with the information Agt. Mullin included in his affidavit from the Coast Guard and the CCSO

 pertaining to the smuggling of thirty-nine (39) Cuban Nationals at Loggerhead Key provided

 sufficient information for the Court to determine that there was a fair probability that officers would

 find contraband or evidence of human smuggling on the vessel. Thus, Agent Mullin’s affidavit

 contained sufficient information for the Court to issue the search warrant.

       (4) Whether the Seizure of the Latent Palm and Fingerprints Should be Suppressed

        The Defendant also opposes the recovery of latent palm and fingerprints discovered pursuant

 to the search warrant, arguing that the warrant only specified navigational equipment such as maps,

 GPS units, and communications equipment such as cell phones. The Government responds that the

 seizure of the fingerprints was within the scope of the initial consent given by the Defendant, or in

 the alternative that the seizure of the prints was within the scope of the warrant, or that the prints

 were the product of inevitable discovery. In addition, the Government argues that the Defendant

 does not have standing to challenge the seizure of the prints because they were not his prints.

                 (a) Whether the Defendant has Standing to Challenge the Prints

        The suppression of the product of a Fourth Amendment violation can be successfully urged

 only by the individuals whose rights were violated by the search itself, not by those who are aggrieved

 solely by the introduction of damaging evidence. Alderman v U.S., 394 U.S. 165, 171-172, 89 S. Ct.

 961, 22 L. Ed. 2d 176 (1969). The capacity to claim Fourth Amendment protections depends “upon

 whether the person who claims the protection of the Amendment has a legitimate expectation of

 privacy in the invaded place.” Minnesota v Carter, 525 U.S. 83, 88, 119 S. Ct. 469, 142 L. Ed. 2d

 373 (1998). A person has a legitimate expectation of privacy protected by the Fourth Amendment

 if he has a subjective expectation of privacy, and if society is prepared to recognize that expectation


                                                 -19-
Case 2:06-cr-00050-SPC-NPM Document 95 Filed 07/18/06 Page 20 of 21 PageID 184



 as objectively reasonable. Katz v. United States, 389 U.S. 347, 361, 88 S. Ct. 507, 19 L. Ed. 2d 576

 (1967).

           In this case, the Defendant readily acknowledged that he was the owner of the vessel, the

 vessel was registered with the State of Florida in his name, and he was in possession of the vessel

 when the initial traffic stop occurred. Thus, it is clear that the Defendant had a subjective expectation

 of privacy in that vessel that society would be prepared to recognize as objectively reasonable. Thus,

 the Defendant has the standing to challenge any evidence that was discovered on his vessel pursuant

 to the search warrant including the latent prints.

                     (b) Whether the Prints Fall within the Scope of the Warrant

           A search warrant must particularly describe the place to be searched and the persons or things

 to be seized. Johnson, 168 Fed. Appx. at 393 (citing Fed. R. Crim. P. 41(e)(2)). The purpose of such

 restrictions is to prevent general searches. U.S. v. Hendrixson, 234 F.3d 494, 495 (11th Cir. 2000).

 Thus, when a police officer engages in a search outside the proper scope (whether that scope be

 defined by a warrant or by circumstances), the evidence obtained in that search may be excluded. Id.

 (citing Horton v. California, 496 U.S. 128, 140, 140 S. Ct. 2301, 110 L. Ed. 2d 112 (1990)).

           In this instance, the scope of Agt. Mullin’s affidavit attached to the search warrant covered

 communications equipment, navigational equipment, any paper navigational aids such as maps, and

 any evidence of alien smuggling in violation of 8 U.S.C. § 132(a)(1)(A)(I). (Doc. # 59 Exhibit B).

 The officers on scene observed the large number of smudges and hand prints covering the entire

 vessel. (Tr. 35:5-7-8, 86:20-25, 87:1-6,114:1-11). Lt. Johnson testified that the number of prints was

 a strong indicator that numerous people had been on the vessel for the purpose of smuggling illegal




                                                   -20-
Case 2:06-cr-00050-SPC-NPM Document 95 Filed 07/18/06 Page 21 of 21 PageID 185



 aliens into the United States. (Tr. 113:6-14, 114:1-23, 116:7-11). Therefore, the officers made

 impressions of the numerous hand and fingerprints that were visible all over the vessel.

         Given that Agt. Mullin’s affidavit was specific to the vessel in question and sought any

 evidence of alien smuggling found on that vessel as well as navigation and communication items, the

 seizure of the prints was not outside the scope of the search warrant. See U.S. v. Jackson, 120 F.3d

 1226, 1229 (11th Cir. 1997) (holding that a rifle seized pursuant to a search warrant seeking cocaine

 did not exceed the scope of the search warrant, even though the firearm was not described in the

 search warrant, because the officers found the rifle while searching for the cocaine).

         Having found that probable cause existed to issue a search warrant for the vessel and further

 that the seizure of the prints was within the scope of the warrant there is no need to review the

 Government’s alternative arguments.

         According it is now

         RECOMMENDED:

         (1) The Defendant Jose Luis Zaldivar’s Motion to Suppress Evidence (Doc. # 59) should be

 DENIED.

         Failure to file written objections to the proposed findings and recommendations contained in

 this report within ten (10) days from the date of its filing shall bar an aggrieved party from attacking

 the factual findings on appeal.

         Respectfully recommended at Fort Myers, Florida, this         18th    day of July, 2006.




 Copies: All Parties of Record

                                                  -21-
